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                                                                                                                                                  JS-6
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                                                      NOTE: CHANGES MADE BY THE COURT
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  8                                             UNITED STATES DISTRICT COURT
  9                                          CENTRAL DISTRICT OF CALIFORNIA
  10

  11     AMIR MOSTAME and ROBERT                                                  ) Case No.: 2:24−cv−04779 ODW (MARx)
         COSCARELLO,                                                              )
  12                                                                              ) ORDER GRANTING STIPULATION
                                 Plaintiffs,                                      )
  13                                                                              ) TO REMAND CASE TO STATE
                 vs.                                                              ) COURT
  14                                                                              )
         PORSCHE CARS NORTH                                                       ) Judge: Hon. Otis D. Wright, II
  15     AMERICA, INC., PORSCHE                                                   )
         RIVERSIDE, and DOES 1 through                                            )
  16     10, inclusive,                                                           )
                                                                                  )
  17                                                                              )
                                 Defendants.                                      )
  18                                                                              )
  19               Per the stipulation of the Parties, (ECF No. 12), the case is REMANDED to
  20    the Superior Court of the State of California for the County of Los Angeles, 111 N.
  21    Hill Street, Los Angeles, CA 90012, Case No. 24STCV11576. All dates are
  22    VACATED. The Clerk of Court is directed to close the case.
  23

  24    IT IS SO ORDERED.
  25
        Date: June 20, 2024                                                     _________________________________
  26
                                                                               United States District Judge
  27                                                                           Central District of California
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        ___________________________________________________________________________________________________________________________________________________________
             ORDER ON STIPULATION TO REMAND CASE TO STATE COURT
